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                                            UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                              No. 17-2247


        DELVON L. KING,

                            Plaintiff - Appellant,

                       v.

        HONORABLE ROBERT C. NALLEY,

                            Defendant - Appellee.



        Appeal from the United States District Court for the District of Maryland, at Greenbelt.
        Theodore D. Chuang, District Judge. (8:17-cv-00628-TDC)


        Submitted: July 31, 2018                                    Decided: September 10, 2018


        Before GREGORY, Chief Judge, WYNN, Circuit Judge, and SHEDD, Senior Circuit
        Judge.


        Affirmed by unpublished per curiam opinion.


        Steven D. Silverman, Anna S. Kelly, SILVERMAN|THOMPSON|SLUTKIN|WHITE,
        LLC, Baltimore, Maryland, for Appellant. Brian E. Frosh, Attorney General, Michele J.
        McDonald, Assistant Attorney General, OFFICE OF THE ATTORNEY GENERAL OF
        MARYLAND, Baltimore, Maryland, for Appellee.


        Unpublished opinions are not binding precedent in this circuit.
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        PER CURIAM:

               Delvon L. King filed a complaint under 42 U.S.C. § 1983 (2012) against Judge

        Robert C. Nalley, who ordered the activation of the stun-cuff King was wearing during

        his criminal trial when he disobeyed the judge’s order to stop talking. Based on this use

        of excessive force, Judge Nalley was disqualified from judicial service and convicted of

        deprivation of rights under the color of law, in violation, of 18 U.S.C. § 242 (2012). The

        district court dismissed King’s complaint seeking compensatory and punitive damages

        based on judicial immunity. We affirm.

               We review de novo a district court’s dismissal of a complaint for failure to state a

        claim. Woods v. City of Greensboro, 855 F.3d 639, 646 (4th Cir.), cert. denied, 138

        S. Ct. 558 (2017). To survive a motion to dismiss, a complaint must contain “enough

        facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly,

        550 U.S. 544, 570 (2007). “We accept as true all well-pleaded facts in a complaint and

        construe them in the light most favorable to the plaintiff.” Wikimedia Found. v. Nat’l

        Sec. Agency, 857 F.3d 193, 208 (4th Cir. 2017).

                  It is well-established that, “generally, a judge is immune from a suit for money

        damages.” Mireles v. Waco, 502 U.S. 9, 9 (1991) (per curiam). “This immunity applies

        even when the judge is accused of acting maliciously and corruptly, and it is not for the

        protection or benefit of a malicious or corrupt judge.” Pierson v. Ray, 386 U.S. 547, 554

        (1967) (internal quotation marks omitted). Rather, it is “for the benefit of the public,

        whose interest it is that the judges should be at liberty to exercise their functions with

        independence and without fear of consequences.” Id. (internal quotation marks omitted).

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        Judicial immunity may be “overcome in only two sets of circumstances”: (1) “a judge is

        not immune from liability for nonjudicial actions, i.e., actions not taken in the judge’s

        judicial capacity”; and (2) “a judge is not immune for actions, though judicial in nature,

        taken in the complete absence of all jurisdiction.” Mireles, 502 U.S. at 11-12.

               The primary issue in this case is whether Judge Nalley was performing a judicial

        act when he ordered the use of excessive force to silence King. To determine “whether

        an act by a judge is a ‘judicial’ one,” we must consider: (1) “the nature of the act itself,

        i.e., whether it is a function normally performed by a judge”; and (2) “the expectations of

        the parties—i.e., whether they dealt with the judge in his judicial capacity.” Stump v.

        Sparkman, 435 U.S. 349, 362 (1978).

               We agree with the district court that, while Judge’s Nalley’s actions were

        outrageous and unlawful, the judge was performing the judicial act of maintaining order

        in the courtroom when he directed the activation of the stun-cuff. He is therefore entitled

        to judicial immunity, and we affirm for the reasons stated by the district court. King v.

        Nalley, No. 8:17-cv-00628-TDC (D. Md. Sept. 21, 2017).            We dispense with oral

        argument because the facts and legal contentions are adequately presented in the

        materials before this court and argument would not aid the decisional process.

                                                                                       AFFIRMED




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